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AO 245B (Rev. 03/2007) - Judgm ent in a Crim inal Case




                                             United States District Court
                                                         District of Kansas

            UNITED STATES OF AMERICA                                         JUDGMENT IN A CRIMINAL CASE
                       v.
             LENARD CHAUNCY DIXON                                            Case Number:            5:07CR40124-001-JAR
                                                                             USM Number:             07688-031

                                                                             D efendant’s Attorney   Melanie S. Morgan

THE DEFENDANT:
[x]       pleaded guilty to count(s): 1, 4, 7, 8, 11 and 14 of a 14-count Superseding Indictment.
[]        pleaded nolo contendere to count(s)        which was accepted by the court.
[]        was found guilty on count(s)       after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:


          Title & Section                                Nature of Offense                              Offense Ended          Count

 See next page.

        The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

[]        The defendant has been found not guilty on count(s)       .

[x]       Counts 2, 3, 5, 6, 9, 10, 12 and 13 are dismissed on the motion of the United States.

         IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered
to pay restitution, the defendant shall notify the Court and United States Attorney of material changes in economic circumstances.

                                                                                                        12/14/2009
                                                                                              Date of Imposition of Judgment


                                                                             s/ Julie A. Robinson
                                                                                                       Signature of Judge


                                                                                    Honorable Julie A. Robinson, U.S. District Judge
                                                                                                Name & Title of Judge


                                                                              December 17, 2009
                                                                                                             Date
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                                                       ADDITIONAL COUNTS OF CONVICTION


              Title & Section                                 Nature of Offense          Offense Ended        Count

 18 U.S.C. § 1951                                HOBBS ACT                                08/05/2007             1

 18 U.S.C. § 1951                                HOBBS ACT                                08/06/2007             4

 18 U.S.C. § 1951                                HOBBS ACT                                08/13/2007             7

 18 U.S.C. § 1951                                HOBBS ACT                                08/22/2007             8

 18 U.S.C. § 1951                                HOBBS ACT                                08/24/2007             11

 18 U.S.C. § 922(g)(1)                           FELON IN POSSESSION OF A FIREARM         08/24/2007             14
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AO 245B (Rev. 06/05) Judgm ent in a Crim inal Case---Im prisonm ent

DEFENDANT:                        LENARD CHAUNCY DIXON                                                                    Judgm ent - Page 3 of 7
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                                                                 IMPRISONMENT
       The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of
420 months.

                      Counts 1, 4, 7, 8 and 11:        84 months imprisonment, each count, to be served consecutive to each other
                      Count 14:                        120 months, to be served concurrent with term imposed in Counts 1, 4, 7, 8 and 11

                      Said term of imprisonment is to be served consecutive to any term of imprisonment imposed in U.S.
                      District Court, District of Kansas, Case No. 5:98CR40034-002-RDR.


[]         The Court makes the following recommendations to the Bureau of Prisons:




[x]        The defendant is remanded to the custody of the United States Marshal.


[]         The defendant shall surrender to the United States Marshal for this district.

           [ ] at       on    .

           [ ] as notified by the United States Marshal.


[]         The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

           [ ] before    on       .

           [ ] as notified by the United States Marshal.

           [ ] as notified by the Probation or Pretrial Services Officer.

                                                                       RETURN
I have executed this judgment as follows:




           Defendant delivered on                                      to

at                                            , with a certified copy of this judgment.




                                                                                                             UNITED STATES MARSHAL



                                                                                                     By
                                                                                                                   Deputy U.S. Marshal
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AO 245B (Rev. 03/2007) Judgm ent in a Crim inal Case ---Supervised Release
DEFENDANT:                      LENARD CHAUNCY DIXON                                                                                 Judgm ent - Page 4 of 7
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                                                         SUPERVISED RELEASE
          Upon release from imprisonment, the defendant shall be on supervised release for a term of five (5) years.

                     Counts 1, 4, 7, 8, 11 and 14: Five (5) years supervised release, each count, to be served concurrently


The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the custody of the
Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime.

The defendant shall not unlawfully possess a controlled substance.

The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug test within 15 days of release from
imprisonment and at least two periodic drug tests thereafter, as determined by the Court.

[]        The above drug testing condition is suspended based on the court's determination that the defendant poses a low risk of future substance abuse.
          (Check if applicable)

[x]       The defendant is prohibited from possessing or purchasing a firearm, ammunition, destructive device, or any other dangerous weapon. (Check
          if applicable)

[x]       The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check if applicable)

[]        The defendant shall register as a sex offender, and keep the registration current, in each jurisdiction where the defendant resides, where the
          defendant is an employee, and where the defendant is a student. For initial registration purposes only, the defendant shall also register in the
          jurisdiction in which convicted, if such jurisdiction is different from the jurisdiction of residence. Registration shall occur not later than 3
          business days after being sentenced, if the defendant is not sentenced to a term of imprisonment. The defendant shall, not later than 3 business
          days after each change in name, residence, employment, or student status, appear in person in at least one jurisdiction in which the defendant
          is registered and inform that jurisdiction of all changes in the information required. (Check if applicable)

[]        The defendant shall participate in an approved program for domestic violence. (Check if applicable)

        If this judgment imposes a fine or restitution, it is to be a condition of supervised release that the defendant pay in accordance with the Schedule
of Payments sheet of this judgment.

          The defendant must comply with the standard conditions that have been adopted by this Court as well as with any additional conditions on the
attached page.

                                     STANDARD CONDITIONS OF SUPERVISION
1)    the defendant shall not leave the judicial district without permission of the court or probation officer;
2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of each month;
3)    the defendant shall answer truthfully all inquiries by the probation officer and follow instructions of the probation officer;
4)    the defendant shall support his or her dependants and meet other family responsibilities;
5)    the defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training or other acceptable reasons;
6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
      controlled substances or any paraphernalia related to any controlled substances, except as prescribed by a physician;
8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)    the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person convicted of a felony unless
      granted permission to do so by the probation officer;
10)   the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband
      observed in plain view of the probation officer;
11)   the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
12)   the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of
      the court;
13)   as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record or
      personal history or characteristics, and shall permit the probation officer to make such notifications and to confirm the defendant's compliance with
      such notification requirement.
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AO 245B (Rev. 03/2007) Judgm ent in a Crim inal Case ---Supervised Release
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                                        SPECIAL CONDITIONS OF SUPERVISION

1.    The defendant shall successfully participate in an approved program for substance abuse, which may include drug/alcohol
      testing, counseling and inpatient treatment, and share in the costs, based on the ability to pay. The defendant shall abstain
      from the use of alcohol during the term of supervision.

2.    The defendant shall not be a member of any street gang, participate in any gang-related activities, or associate with any
      gang members during the term of supervision. The defendant shall comply with any curfew established by the probation
      officer, who may utilize electronic monitoring to verify the defendant’s compliance with the curfew schedule. As
      instructed by the probation officer, the defendant may be required to maintain a telephone at the defendant’s place of
      residence without call forwarding, caller ID, call waiting, portable cordless telephones, answering machines/service, or
      any other feature or service which would interfere with the operation of electrical monitoring equipment. The defendant
      may be required to wear an electronic monitoring device, which may include Global Positioning System and/or Random
      Tracking, and follow electronic monitoring procedures specified by the probation officer. Additionally, the probation
      officer may restrict the defendant from certain areas within the community, and the defendant must comply with these
      restrictions. The defendant shall assist in the costs of home confinement, based on the ability to pay, at the direction of
      the probation officer.
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AO 245B (Rev.06/05) Judgm ent in a Crim inal Case---Crim inal M onetary Penalties
DEFENDANT:                        LENARD CHAUNCY DIXON                                                                                            Judgm ent - Page 6 of 7
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                                            CRIMINAL MONETARY PENALTIES
      The defendant shall pay the total criminal monetary penalties under the Schedule of Payments set forth in this Judgment.
                                                  Assessment                       Fine                    Restitution

       Totals:                                                   $600                                   $0                           $1,537.83

       Counts 1, 4, 7, 8, 11 and 14:          $100 CVF assessment, each count, for a total of $600

[]     The determination of restitution is deferred until                                     . An Amended Judgment in a Criminal Case (AO 245C) will
       be entered after such determination.

[x] The defendant shall make restitution (including community restitution) to the following payees in the amounts listed below.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise
in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
before the United States is paid.



 Name of Payee                                                          Total Loss*                  Restitution Ordered                 Priority or Percentage

 Dollar General                                                           $523.17                            $523.17

 Tommy Meier Liquor                                                       $700.00                            $700.00

 W ood Oil                                                                $314.66                            $314.66

                                                 TOTALS:                 $1,537.83                           $1,537.83




[x]    Restitution amount ordered pursuant to plea agreement $1,537.83

[]     The defendant shall pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options set forth in this Judgment
       may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

[x]    The court determined that the defendant does not have the ability to pay interest, and it is ordered that:

       [x] the interest requirement is waived for the                [ ] fine and/or        [x] restitution.

       [ ] the interest requirement for the              [ ] fine and/or         [ ] restitution is modified as follows:




  * Findings for the total am ount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses com m itted on or after Septem ber 13, 1994,
but before April 23, 1996.
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AO 245B (Rev.06/05) Judgm ent in a Crim inal Case---Crim inal M onetary Penalties
DEFENDANT:                           LENARD CHAUNCY DIXON                                                                                                        Judgm ent - Page 7 of 7
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                                                            SCHEDULE OF PAYMENTS
    Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties are due as follows:

A      []      Lump sum payment of $ due immediately, balance due

       []      not later than            , or

       []      in accordance with ( ) C, ( ) D, ( ) E, or ( ) F below; or

B      [x]     Payment to begin immediately (may be combined with ( ) C, (x) D, or (x) F below); or

C      []      Payment in monthly installments of not less than 5% of the defendant's monthly gross household income over a period of
               years to commence      days after the date of this judgment; or

D      [x]     Payment of not less than 10% of the funds deposited each month into the inmate's trust fund account and monthly installments
               of not less than 5% of the defendant's monthly gross household income over defendant’s term of supervised release, to
               commence 30 days after release from imprisonment to a term of supervision; or

E      []      Payment during the term of supervised release will commence within _ (e.g., 30 or 60 days) after release from imprisonment.
               The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F      [x]     Special instructions regarding the payment of criminal monetary penalties:


If restitution is ordered, the Clerk, U.S. District Court, may hold and accumulate restitution payments, without distribution, until the
amount accumulated is such that the minimum distribution to any restitution victim will not be less than $25.

Payments should be made to Clerk, U.S. District Court, U.S. Courthouse - Room 259, 500 State Avenue, Kansas City, Kansas 66101.

Unless the Court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate
Financial Responsibility Program, are made to the Clerk of the Court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

       []      Joint and Several

       Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount Joint and Several Amount and
       corresponding payee, if appropriate.
                       Case Number                                                                                                                           Joint and Several
                   (including Defendant                                                      Defendant Name                                                       Amount
                         Number)


       []      The defendant shall pay the cost of prosecution.

       []      The defendant shall pay the following court cost(s):

       []      The defendant shall forfeit the defendant's interest in the following property to the United States:




 Paym ents shall be applied in the following order: (1) assessm ent, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine interest, (6) com m unity restitution,
(7) penalties, (8) costs, including cost of prosecution and court costs.
